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 Pro Se 4(Rev. 12/16) Complaint for a Civil Case Alleging Breach of Contract



                                        UNITED STATES DISTRICT COURT                                                                      FILED
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                                                                                 Division                                    CENT               ICTOFCALIFORNIA
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                              laintiff(s)
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page with thefull list ofnames.)

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    rite th"e full name of each defendant who is being sued. If the
 names of all the defendants cannot fit in the space above, please
 write "see attached" in the space and attach an additionalpage
 with the full list of names.)



                COMPLAINT FOR A CIVIL CASE ALLEGING BREACH OF CONTRACT
                                                 (28 U.S.C. § 1332; Diversity of Citizenship)


 I.        The Parties to This Complaint
           A.         The Plaintiffs)

                      Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                      needed.
                                 Name
                                 Street Address
                                 City and County
                                 State and Zip Code
                                 Telephone Number
                                 E-mail Address                           ~joW~~ ~ ~ ~~ ~~ ~ d-~ ~Q ~~`,Layer.




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Pro Se 4(Rev. 12/16) Complaint for a Civil Case Alleging Breach of Contract


          B.         The Defendants)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (tflcnown). Attach additional pages if needed.
                     Defendant No. 1
                                Name
                                Job or Title (ifknown)
                                Street Address
                                City and County                         ~.~, vt~,e~9e~
                                State and Zip Code
                                Telephone Number
                                E-mail Address (ijknown)



                     Defendant No. 2
                                Name                                    ~j~~~c2-UI            ~h~P~'[~
                                Job or Title (i1'known)                 ~~~~~~
                                Street Address
                                City and County                         ~~ ~~T l~'
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                     Defendant No.3
                                Name                                     ~1~VL~~'~~
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                     Defendant No.4
                                Name
                                Job or Title (irknown)                  ('~y~sT~_~~CU~eP~-~'
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                                State and Zip Code                         ~t p ~ ~
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                                E-mail Address (ifknown)

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II.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Under 28 U.S.C. § 1332, federal courts may
          hear cases in which a citizen of one State sues a citizen of another State or nation and the amount at stake is
          more than $75,000. In that kind of case, called a diversity of citizenship case, no defendant may be a citizen of
          the same State as any plaintiff. Explain how these jurisdictional requirements have been met.


          A.         The Plaintiffs)

                                Ifthe plaintiff is an individual
                                The plaintiff,(name)              ~~ ~ ~~           ~ ~ '~ ~ ~                                 is a citizen of the
                                                                               ~.
                                State of(name)

                     2.         If the plaintiff is a corporation
                                The plaintiff,(name)                                                                                , is incorporated
                                under the laws ofthe State of(name)
                                and has its principal place of business in the State of             name)




                   (Ifmore than one plaint~is named in the complaint, attach an additionalpage providing the
                   same informationfor each additional plaint)

          B.         The Defendants)

                                Ifthe defendant is an individual
                                The defendant, (name)          N~~~~~1~~,~~~~~V~     g~; ~I~ jk,~~~n~~~~~fZ   ~}•r~~~~~U~,Z C;;~(~'~I~%, is a citizen of
                                the State of(name)          ~' ~l ~ ~ ~~ ~,~~ 4~                                                 Or is a citizen of
                               (foreign nation)



                     2.         If the defendant is a corporation
                                The defendant, (name) ~.j~,~~i,,~,.~y ~~~yt~,l~ ~Y~i;~✓~i r~~Z (;,~f,~it;e~,r (.~;v/'~~~° is incorporated under
                                the laws of the State of(name) ~~~A ~ ~ ~.~`,~~`~                                                  ,and has its
                                principal place of business in the State of(name)                 ~U( c ~~"v'tru ~.
                                Or is incorporated under the laws of Uoret~n nation)  ~ j f~ s t ~ ~~{L~tiS L~' ~c~`~+
                                and has its principal place of business in (name) ~~,,iA, ,~r,~-v;rGzcyc.~~~

                   (Ifmore than one defendant is named in the complaint, attach an additionalpage providing the
                   same informationfor each additional defendant.)

          C.         The Amount in Controversy

                     The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
                     stake—is more than $75,000, not counting interest and costs of court, because (exp[atn):


                                                                                                                                                 Page 3 of 5
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III.      Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
          involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
          the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
          write a short and plain statement of each claim in a separate pazagraph. Attach additional pages if needed.

          The plaintiff,(name)          ~~}~h ~ c ~ SO i/L                                                                        ,and the defendant,
         (name)     r.~e~,/ l
                              2(R~. l~v'✓'a ~~v,S~~/uku~.od~. ~W,~P.►'MtG~4.e~,..~~~~u1..sotti ,made an agreement or contract on
          (dare)    ~~, ~~ ~~~,     .The agreement or contract was (oral or written) ~~~/' ~~~ .Under that
          agreement or contract, th0 pattleS W0I'0 rOqulI'ed t0 (specify what the agreement or contract required each parry to do)
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          The defendant failed to comply because (specify what the defendant did or failed to do that failed to comply with what the
          agreement or contract required)~~ ~ ~~~ r,

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          The plaintiff has complied with the plaintiffs obligations under the contract.

N.        Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive moneydama es.1,~J~av ~+v1cc:~<i~~~>~E,~ ~,'~:~`y~~~'~7y 1 ~r.l~.',~ r;~~~x~~;ti;~ ~-~zil~~~;~-~1iu~.~~.~_~~u',~.rS_c~~~'~~~~:.~
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           recently have been going through a big deal of identity theft having to do with this female nyela
Blackman that has been stalking me,following me for the past 2-4 years involving media impersonation,
intentional misrepresentation with alook-alike being on camera broadcasted by other gang-stalk
members, clothes being given to me with bad intentions while going through lawsuit regarding
entertainment business, fraud profiling, identity switching (as well as social security car and ID) ,financial
benefits be made from media work that was mine that I was scripted through at most times but never
gave me access due to concealment of internal wiretap use for insider trading, non-solicited marketing
act, gang stalk, and profile fraud as well as part of a conspiracy involving obsessed Nyela Blackman
lying to her family in order to get me gang-stalked, drugged, internally wired for entertainment purposes,
identity theft for use of money such as my name being forged onto the baby of another person,
impersonated for financial benefits, almost murdered ater waking up seeing a gun pointed in the tent,
robbed, or being forced into being the father of a child that's not mine. They have been attempting to set
me up for the past 3 years or possibly more with help from different organizations including the sheriff's
department(Blackman Sheriff.They have been profiling to mix me up with the identities of Brandon
Snyder (rapist in system), Shawn/Sean Curtis, Brianna/Brittney Wilson (not related from my knowledge,
may have brother or relatives cause I came across ID while walking on 1st and Michael Johnson in
order for them to put fraudulent charges on my name. I was told that MS13 was trying to set me up
because of Brandon snyder Brandon snyder and nyela Blackman stealing a work check from first choice
staffing, ID, social security card, and $40 around March-April 2017 and then again stealing a backpack of
mine after coming back from the GR office with a photocopy of both my social security and ID card.
           This conspiracy was pre-meditated and was only brought about from spite, obsession, and
 insecurities of me cutting nyela Blackman off on April 18, 2017 for stealing from me then trying to make
 me put a baby inside of her. Her gang stalk conspiracy is being helped and supported by a family
 member in law enforcement (sheriff Blackman)and a other corrupt individuals that have been helping
 with this unlawful situation using wire fraud, dress alike's, identity mix-up's, fraud profiling, and scams
 intended to only benefit the law. They also possibly followed and kidnapped a female I came across with
the intentions of doing entertainment business and was supposed to follow up with me but I may have
 possibly called a little too late. She was urgently telling me to call her that night regarding the business
offer, texted her instead then tried to call about 5 days later and didnt get a n answer. Their are clips of
the wiretap monitoring I was doing and some have to do with nyela Blackman in another location possibly
switching my identity by possibly forcing or having help from LAPD officer Heather Corrillo/Ramirrez to
 put fraudulent charges done by Brandon snyder (rapist in system), sean/shaven Curtis, michael Johnson,
 nyela Blackman (checks from (2017), credit, and false advertising (broadcasting) of intentional
 misrepresentation).You can hear the difference befinreen the voices from people in distance and in the
 internal wiretap that was used for media purposes, financial benefits, movie footage for actor's reel
(portfolio), and career benefits. I have been hearing about name/stage names being used telling a story
about a place I wasn't, action I didn't do, or camera recording where I was being brought up but not really
there but mostly had tried to make me look like the body/representation with similar face attributes of
 Brandon snyder (orvise-versa), michael Johnson (orvise-versa), and/or sean/shaven Curtis (orvise-versa)
 doing wire fraud including online impersonation, fraud profiles/accounts, false advertising/spam, group of
 people doing intentional misrepresentation working with members of the law (knowing it's incorrect, with
 hope of getting me killed or in jail for the use of other peopl's identity), non-solicited marketing act,
fictitious name of business, and breach of contract (unlawful wiretap) with help from Heather
 Corrillo/Ramirrez (not sure if by force or not).

         There are 70+ videos on youtube with facts and evidence of this conspiracy going on downtown
thats been happening for years now including gang stalks, corrupt law enforcement doing mental
harasssment &stalking with intentions of obsessions and greed disregarding another person's life not
caring whether they cause problems or not. Their has possibly been innocent females that were
assaulted and hurt over media work That was used to start acareer/movie shoot or documentary. There
is work that had been recorded without consent but had been paid for after completed with the attempt of
another person taking credit for the intellectual property and repertoire for identity also.


512 E. 4th St.
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V.        Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint:(1)is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation;(2)is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law;(3)the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and(4)the complaint otherwise complies with the
          requirements of Rule 11.

          A.         For Parties Without an Attorney

                     I agree to provide the Clerk's Office with any changes to my address where case—related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.


                     Date of signing:          ~~~ r~ / ? c~


                     Signature of Plaintiff
                     Printed Name of Plaintiff


          B.         For Attorneys


                     Date of signing:


                     Signature of Attorney
                     Printed Name of Attorney
                     Bar Number
                     Name of Law Firm
                     Street Address
                     State and Zip Code
                     Telephone Number
                     E-mail Address




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    Case 2:21-cv-01739-AB-JPR Document 1 Filed 02/22/21 Page 10 of 26 Page ID #:10


Vitiim's !Name                                                Phone number ~)                                    Poge 4

(19}       Below are detzifs abort the different frauds camrnitted using mY personal information.

                                                                                                    (I 9):
  ~~                                                                                                If there were
 Name of lnsatution                    Cora Person                   Phone            Extension     more £han zftt'ee
                                                                                                    frauds, copy this
 Account Number                     Routing Number                     Affected Check Numberts)     page t~lank, aril
                                                                                                    attach as many
 Account.Type: ❑Credit DBank OPhony/Utilities ❑Loa.n                                                additional copies
                                                                                                    as necessary.
               ❑ Government Benefiu D Internet ar Email O dti~er
                                                                                                     Enter any
 Select ONE:                                                                                         ~prr~b~
      ❑ This account was opened fraudulenrJy.                                                        inf4rmatian that
      ❑ This was an existing account that someone tampered with.                                     you have, even if
                                                                                                     it is incomplete
                                                                                                     o~- an estimate.
 Date Opened Qr Misused {mm/yyyy}      Date 6iscavered (nzm/y~+yy}     Total Amount Obtained {S)
                                                                                                     li tt~e thief
                                                                                                     committee} two
                                                                                                     types of fraud at
                                                                                                     one company,
 Name of €restitution                  Contact Person                Phone            E~en~Eon
                                                                                                     list the campanX
                                                                                                     twice, giving
 A.c~aunt Number                   Routing Nu;rtber                   Afietted Check Nurrtber(s)     the inforrnztion
                                                                                                     about the two
 AccQuntTyp~: QCrecfit QBank ❑Phc~n~(Utilities ❑Loan                                                 frauds se~aratefy.
              I~ Goverr~rner~t Benefits ❑ Internet car mat! CI tither                               Contact {arson:
                                                                                                    Someone you
 Select ONE:                                                                                        dealt with, whom
      ❑ Tf~is ~ccoUnt way opened f~-audu[ent{y.                                                     an ir►vesrigato~
      ❑ This was are existing: accr~unt:t~tat samet~ne tampered with.                               tan call about this
                                                                                                    fraud.
 Date opened or Misused (mm~yyyy}     Qate Dis[avered (rr~rn/yyyy)     Totzi Amount 4btair~ed ($}   Account fYumber_
                                                                                                    The number of
                                                                                                    the credit or'
                                                                                                    debit card, bank
 1~me of lrtstitt~tic>t~               Cantzct Person                Phone           Extension      acto~nt, loan, or
                                                                                                    other account
 Accourrc Number                  Routing Number                      Affe~ed Check 1~Iurnber(s)    that was misused.

                                                                                                       Dates: tnditate
Account Type. ❑ Cre~tit ❑Bank D PhoneNtilities ❑Loan                                                   when the thaef
              ❑ Government Benefits ❑ fnternet ar Ema;1 p Qther                                        bean io misuse
                                                                                                       your information
Select ONE.                                                                                         ~I and when You
     ❑ This account was opened fraudulently.                                                           ais<overed the
     ❑ This was an existing account that someone tampered with.                                        prob~etn.

                                                                                                      Amount Obtained.
Dane O~en~d or Misused (mmjyyyyj      Date Discovered (mm/yyyy)        Total Amount Obtained (~}      For instance,
                                                                                                      the total amount
                                                                                                      purchased wit1~
                                                                                                      the card or
                                                                                                    ~ wit#~drawn from
                                                                                                    ~ the account.
  Case 2:21-cv-01739-AB-JPR Document 1 Filed 02/22/21 Page 11 of 26 Page ID #:11
                    /i                 9
Victim's Name      ~~ ~' j ~'~1,~/~ i,(~~ ~~                              (~
                                                               Phone number                                Page 5




(20)       One way to get a credit reporting agency to quickly block identity theft-           ~20~~
                                                                                               Check "I have
           related information from appearing on your credit report is to submit a             not..." if you have
           detailed law enforcement report ("Identity Theft Report"). You can obtain           not yet filed a
           an Identity Theft Report by taking this form to your local law enforcement          report with law
                                                                                               enforcement or
           office, along with your supporting documentation. Ask an officer to witness         you have chosen
           your signature and complete the rest of the information in this section. It's   not to. Check "I
           i mportant to get your report number, whether or not you are able to file in    ~ unable..." if
           person or get a copy of the official law enforcement report. Attach a copy of   you tried to file
           any confirmation letter or official law enforcement report you receive when     a report but law
                                                                                               enforcement
           sending this form to credit reporting agencies.                                     refused to take it.
           Select ONE:                                                                         Automated report:
                ❑ I have not filed a law enforcement report.                                   A law
                ❑ I was unable to file any law enforcement report.                             enforcement
                                                                                               report filed
                O I filed an automated report with the law enforcement agency listed           through an
                  below.                                                                       automated
               CYI filed my report in person with the law enforcement                          system, for
                 officer and agency listed below.                                              example, by
                                                                                               telephone, mail,
       r                                                             ,~                        or the Internet,
               ~ ''~ ' ~~ ~~     ~~                                                            instead of a
                                                                                               face-to-face
°iaw~'Enforcement Department                                              State
                                                                                               interview with a
                                                                                               law enforcement
                                                                                               officer.

                                               ~~ I ~ l L—~~1 ~ ~1
 Report Number                                 Filing Date (mm/dd/yyyy)




 Officer's Name (please print)                 Officer's Signature




                                               U
 Badge Number                                  Phone Number



Did the victim receive a copy of the report from the law enforcement officer?          ❑ Yes     OR -~No


Victim's FTC complaint number (if available):
   Case 2:21-cv-01739-AB-JPR Document 1 Filed 02/22/21 Page 12 of 26 Page ID #:12

Victim's Name~
             ~( ~~J I I ~ (~~~~                           Phone number
                                                                     (~                                Page 6




As applicable, sign and date IN THE PRESENCE OF a law enforcement officer, a notary, or
a witness.
(2I)      I certify that, to the best of my knowledge and belief, all of the information on and attached to
          this complaint is true, correct, and complete and made in good faith. I understand that this
          complaint or the information it contains may be made available to federal, state, and/or local
          law enforcement agencies for such action within their jurisdiction as they deem appropriate.
          understand that knowingly making any false or fraudulent statement or representation to the
          government may violate federal, state, or local criminal statutes, and may result in a fine,
          imprisonment, or both.



               ~~ , ~                                    t      G

 tSigffature                                             Date Signed (mm/dd/yyyy)




(22)      If you do not choose to file a report with law enforcement, you may use this form as an Identity
          Theft Affidavit to prove to each of the companies where the thief misused your information that
          you are not responsible for the fraud. While many companies accept this affidavit, others require
          that you submit different forms. Check with each company to see if it accepts this form. You
          should also check to see if it requires notarization. If so, sign in the presence of a notary. If it
          does not, please have one witness (non-relative) sign that you completed and signed this Affidavit.
          If someone has used your Social Security number(SSN)to get a tax refund or a job, or you
          suspect your SSN has been stolen, alert the IRS using Form 14039 at
          www irs.gov/pub/irs-pdf/f14039.pdf.




 Notary


Witness:




 Signature                                              Printed Name




 Date                                                   Telephone Number
            Case 2:21-cv-01739-AB-JPR Document 1 Filed 02/22/21 Page 13 of 26 Page ID #:13

                                                              CONFIDENTIAL                                                                         CM-011
 ATTORNEY OR PARTY WITHOUT ATTORNEY                      STATE BAR NUMBER:                                             FOR COURT USE ONLY
 NAME:~Y ICII/~         ~LLJOV`
 FIRM NAME:
 STREETADDRESS: 5 i2 ~• i~,l
                             St,
 CITY: ~~ ~ ~~~`~~;                                      STATE:        ZIP CODE:
            '\
 TELEPHONE NO.:                                         FAX NO.:
 E-MAIL ADDRESS:

 ATTORNEY FOR: ~ PLAINTIFF ~ OTHER (SPECIFY):

 SUPERIOR COURT OF CALIFORNIA, COUNTY OF
  STREETADDRESS: j ~S ,~ ~N.
                               I i~
                                  l Jl;•
  MAILING ADDRESS:
                   '~1S Ir• I)~ Jf•
 CITY AND ZIP CODE: ~~5 ~k„`G ~~~ ~~~~,~j

      BRANCH NAME: ~i`r~F ~~~ t`~ ~
                           ~        yyt ~~~ 1_l.LaiN `n ~~

 Plaintiff               [UNDER SEALI]
 Defendant               [UNDER SEALI]
                                                                                                  CASE NUMBER:
           CONFIDENTIAL COVER SHEET—FALSE CLAIMS ACTION


  INSTRUCTIONS: This civil action is brought under the False Claims Act,                            Seal to expire on (date):
  Government Code section 12650 et seq. The documents filed in this case
  are under seal and are confidential pursuant to Government Code section
  12652(c).
                                                                                                           UNLESS:
  This Confidential Cover Sheet must be affixed to the caption page of the                                (~) Motion to extend time is
  complaint and to any other paper filed in this case until the seal is lifted.                               pending; or
                                                                                                          (2) Extended by court order
  You should check with the court to determine whether papers filed in
  False Claims Act cases must be filed at a particular location.


     The do ument to which this cover sheet is affixed is:
     a.      Complaint for damages for violation of the False Claims Act
     b•   Civil Case Cover Sheet (form 982.2(b)(1))
     ~• ~ Motion for an extension of time to intervene
     d•   Affidavit or other document in support of the motion for an extension of time
     e• 0Order extending time to intervene (specify date order expires):
     f• ~ Other order (describe):



     9•           Notice from the Attorney General of additional prosecuting authority that may have access to the file
     h.           Other (describe):~AyVI~ ~.~/~, flS
                                                         ~ 1C~P~^~t
                                                       ~-~y-                          f
                                                                               ~lC~.~ ~,~;s1'~ ,~01~-1, d~jf°O~G~9~ Yeels-~ ~~Qud ~~p ~'l ~~
          ~~tln ~uo~eF- ~erso1'~ ptip Suwl(M oUIS                  oSS 1 ~~ ~~~,o w a~ CoHs cv'
                                                                   ~         Y~                    ~ ~~y-

2. This Confidential Cover Sheet and the attached document must each be separately file-stamped by the clerk of the court.


Date:D ~ /~ 0~
       ~~ ~ Z~~--\
                                                                                                                                                    Page 1 of 1
Form Adopted for Mandatory Use                        CONFIDENTIAL COVER SHEET                                                          Gov. Code,§ i2652(c)
Judicial Council of California                                                                                           Cal. Rules of Court, rules 2.570-2.573
CM•o~ ~ [Rev. September ~, 2o~e]                          FALSE CLAIMS ACTION               American LegalNe4 ~~-      ~                    www.couRs.ca.gov
                                                                                            ww~~.FormsN'orkFlo~e com
           Case 2:21-cv-01739-AB-JPR Document 1 Filed 02/22/21 Page 14 of 26 Page ID #:14
 NAME AND ADDRESS OF COURT:                                                  SMALL CLAIMS CASE NO.:                                                SC'~.34

                                                                                                                       FOR COURT USE ONLY


~LAINTIFF/DEMANDANTE (name, address, and telephone number ofeach


                       i t~5~~
                                                                      —~
    Telephone No.:
         DEFENDANT/DEMAN~DOy
                           (,n~ame, address, and telephone number of each)

  ~rw~l.o~~ S~y~ex1.~c.~v~~C,wr~is~ ~«~ta~ ~o~aso~~
I 11iev`~ Cov~v~~llo~~ea{~er Co~rrillo/'~,rnt,~c~~
~
   Telephone No.:
         See attached sheet for additional plaintiffs and defendants.
                                         ORDER TO PRODUCE STATEMENT OF ASSETS
                                                AND TO APPEAR FOR EXAMINATION
     TO JUDGMENT DEBTOR (name):
     YOU ARE ORDERED
     a. to pay the judgment and file proof of payment(a canceled check or money order or cash receipt, and a written declaration that
        shows full payment of the judgment, including postjudgment costs and interest) with the court before the hearing date shown in
        the box below, OR
     b. to (1) personally appear in this court on the date and time shown below, and
          (2) bring with you a completed Judgment Debtor's Statement of Assets(form SC-133).
        At the hearing you will be required to
       .answer questions about your income and assets; and
       .explain why you did not complete and mail form SC-133 to judgment creditor in a timely manner.(You should have sent it
           within 30 days after the Nofice of Entry of Judgment(form SC-130) was mailed or handed to you by the clerk.)
                                                                                   Name and address of court if different from above:
             Hearing         Date:                            Time:
              Date           Dept.:                           Room:

 If you fail to appear and have not paid the judgment,                          Si usted no se presents y no ha pagado el monto del fallo
 including postjudgment costs and interest, a bench warrant                     judicial, inclusive las costas e intereses posterlores al fallo,
 may be issued for your arrest, you may be held in contempt                     la Corte puede expedir una Orden de detencion contra usted,
 of court, and you may be ordered to pay penalties.                             declararle en desacato y ordenar clue pague multas.
3. This order may be served by a sheriff, marshal, or registered process server.

 Date:                                                                        '
                                                                                                          (SIGNATURE OF JUDGE)

                                                 APPLICATION FOR THIS ORDER
                                                         (See Instructions on reverse)
A. Judgment creditor (the person who won the case)(name):                                                     applies for an order requiring
   judgment debtor (the person or business who lost the case and owes money)(name):
    to (1) pay the judgment or (2) personally appear in this court with a completed Judgment Debtor's Statement of Assets(form
   SC-133), explain why judgment debtor did not pay the judgment or complete and mail form SC-133 to judgment creditor within 30
    days after the Notice of Entry of Judgment was mailed or handed to judgment debtor, and answer questions about judgment
    debtor's income and assets.
B. I, judgment creditor, state the following:
  (1) Judgment debtor has not paid the judgment.
   (2) Judgment debtor either did not file an appeal or the appeal has been dismissed or judgment debtor lost the appeal.
   (3) Judgment debtor either did not file a motion to vacate or the motion to vacate has been denied.
   (4) More than 30 days have passed since the Notice of Entry of Judgment was mailed or delivered to judgment debtor.
   (5) I have not received a completed Judgment Debtor's Statement of Assets from judgment debtor.
  (6) The person to be examined resides or has a place of business in this county or within 150 miles of the place of examination.
 declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
Date:            r
    ~(~1/~ ~ i lSo~l                                                                 /
                            (TYPE OR PRINT NAME)                                                              (DECLARANT)

                                       — The county provides small claims advisor services free of charge —                                         Peye ~ o+x
Form Adopted for Mandatory Use              APPLICATION AND ORDER TO PRODUCE STATEMENT                                      Code of Civil Procedure, §§ 116.820,
Judicial Council of California                                                                                                                 116.830, 708.170
SC-134[Rev. January 1, 2017]                  OF ASSETS AND TO APPEAR FOR EXAMINATION                                                        www.co~ns.ca.yo~
                                                            (Small Claims)
          Case 2:21-cv-01739-AB-JPR Document 1 Filed 02/22/21 Page 15 of 26 Page ID #:15
                                                                                                                                    SC-134
                                             INSTRUCTIONS FOR APPLICANT
 1 ~ This form is intended to be an easy tool to enforce your right to receive a completed Judgment Debtor's Statement of Assets(form
     SC-133). This form is not intended to replace the Application and Order for Appearance and Examination (form EJ-125), often
     called an "Order for Examination." The Application and Order for Appearance and Examination should still be used to enforce a
     small claims judgment if you are not seeking at the same time to make the debtor complete a Judgment Debtor's Statement of
     Assets.

2. To set a hearing on an Application and Order to Produce Statement of Assets and to Appear for Examination, you must complete
   this form, present it to the court clerk, and pay the fee for an initial hearing date or a reset hearing date.

3. After you file this form, the clerk will set a hearing date, note the hearing date on the form, and return two copies or an original and
   one copy of the form to you.

4. If you want to be able to ask the court to enforce the order on the judgment debtor (the person or business who lost the case), you
   m ust have a copy of this form and a blank copy of the Judgment Debtor's Statement of Assets(form SC-133) personally served on
   the judgment debtor by a sheriff, marshal, or registered process server at least 10 calendar days before the date of the hearing, and
   have a proof of service filed with the court. The law provides for a new fee if you reset the hearing.

5. If the judgment is paid, including all postjudgment costs and interest, you must immediately complete the Acknowledgment of
   Satisfaction of Judgment on the reverse of the Notice of Entry of Judgment(form SC-130) and file a copy with the court.

6. You must attend the hearing unless the judgment has been paid.




              Request for Accommodations. Assistive listening systems, computer-assisted real-time captioning, or sign
              language interpreter services are available if you ask at least 5 days before your hearing. Contact the clerk's
              office for Requestfor Accommodation (form MC-410).(Civil Code, § 54.8.)




SC-134[Rev. January i, 207]        APPLICATION AND ORDER TO PRODUCE STATEMENT                                                       Page 2 of 2

                                     OF ASSETS AND TO APPEAR FOR EXAMINATION
                                                   (Small Claims)
     Case 2:21-cv-01739-AB-JPR Document 1 Filed 02/22/21 Page 16 of 26 Page ID #:16




C.   The Defendants)

           Ifthe defendant is an individual
           The defendant, (name) Geneviene Corrillo                                    is a citizen of
           the State of(name)    California                                        Or is a citizen of
          (foreign nation)   United States of America


     2.    Ifthe defendant is a corporation
           The defendant, (name)                                                  is incorporated under
           the laws ofthe State of(name)                                                     and has its
           principal place of business in the State of(name)
           Or is incorporated under the laws of(~orei~n nar~on)
           and has its principal place of business in (name)




          (7fmore than one plaintiffis named in the complaint, attach an additionalpage providing the
          same informationfor each additionalplaint)

     D.    The Defendants)

           1        If the defendant is an individual
                    The defendant, (name) Heather Corrillo/ Ramirez                             is a citizen of
                    the State of(name)     California                                       Or is a citizen of
                   (foreign nation)   United States of America


           2        Ifthe defendant is a corporation
                    The defendant, (name)                                                  is incorporated under
                    the laws ofthe State of(name)                                                       and has its
                    principal place of business in the State of(name)
                    Or is incorporated under the laws of(/orei~n nation)
                    and has its principal place of business in (name)
     Case 2:21-cv-01739-AB-JPR Document 1 Filed 02/22/21 Page 17 of 26 Page ID #:17




E.   The Defendants)

           Ifthe defendant is an individual
           The defendant, (name) Angela Corrillo/ Ramirrez            is a citizen of
           the State of(name)    California                       Or is a citizen of
          (foreign nation)   United States of America


     2     If the defendant is a corporation
           The defendant, (name)                                  is incorporated under
           the laws of the State of(name)                                   and has its
           principal place of business in the State of(name)
           Or is incorporated under the laws of(foreign narion)
           and has its principal place of business in (name)




F.   The Defendants)

           If the defendant is an individual
           The defendant, (name) Nyela Snyder/ Blackman               is a citizen of
           the State of(name)    California                       Or is a citizen of
          (foreign nation)   United States of America


     2     If the defendant is a corporation
           The defendant, (name)                                  is incorporated under
           the laws of the State of(name)                                   and has its
           principal place of business in the State of(name)
           Or is incorporated under the laws of(fore~~n Hatton)
           and has its principal place of business in (name)
Case 2:21-cv-01739-AB-JPR Document 1 Filed 02/22/21 Page 18 of 26 Page ID #:18




G.    The Defendants)

                   If the defendant is an individual
                   The defendant, (name) Sean Curtis                          is a citizen of
                  the State of(name)      California                      Or is a citizen of
                  (foreign nation)     United States of America


            2.    If the defendant is a corporation
                  The defendant, (name)                                  is incorporated unde
                  the laws of the State of(name)                                    and has it
                   principal place of business in the State of(name)
                  Or is incorporated under the laws of(roret~n nation)
                  and has its principal place of business in (Home)




      H.    The Defendants)

                  If the defendant is an individual
                  The defendant, (name) Maria Tarango                         is a citizen of
                  the State of(name)      California                     Or is a citizen of
                 (foreign nation)    United States of America


           ~a     Ifthe defendant is a corporation
                  The defendant, (name)                                  is incorporated under
                  the laws of the State of(name)                                   and has its
                  principal place of business in the State of(name)
                  Or is incorporated under the laws of(rore~Qn nation)
                  and has its principal place of business in (name)
Case 2:21-cv-01739-AB-JPR Document 1 Filed 02/22/21 Page 19 of 26 Page ID #:19




I.    The Defendants)

                  Ifthe defendant is an individual
                  The defendant, (name) Kyrie Irving                          is a citizen of
                  the State of(name)    California                       Or is a citizen of
                  (foreign nation)   United States of America


            2.    If the defendant is a corporation
                  The defendant, (name)                                  is incorporated under
                  the laws of the State of(name)                                   and has its
                  principal place of business in the State of(name)
                  Or is incorporated under the laws of(roreiRn narton)
                  and has its principal place of business in (name)
       Case 2:21-cv-01739-AB-JPR Document 1 Filed 02/22/21 Page 20 of 26 Page ID #:20



                                          SUMMONS                                                                               FOR couar use oN~ r
                                                                                                                           (SOLO PARA USOOE U CORTE)
                                 (CITACION JUDICIAL)
 NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):
~~•~'(`~ ic~t ae( ,To(~t ~Sov~
 YOU ARE BEING SUED BY PLAINTIFF:
(LO EST,4 DEMANDANDO EL DEMANDANTE):

 Brian A. Wilson
                                              may decide against you w~tnout your being Heard urness you
 below.
   You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtin/o.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
 court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
 be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
 (www.courtinfo.ca.gov/sel/help), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 ~AV/SO!Lo han demandado. Si no responde dentro de 30 dias. la Corte puede decidir en su crontra sin escuchar su version. Lea /a informacion a

    Tiene 30 DIAS DE CALENDAR/O despues de que /e entreguen esta citacion y papeles legates para presentar una respuesfa por esc~ito en esta
cone y hacer que se entregue una copia a/ demandante. Una Carta o una Ilamada telefonica no to protegen. Su respuesta por escrito tiene que estar
en /ormato legal correcto si desea que procesen su caso en la Corte. Es posib/e que haya un formularro que usted pueda usarPara su respuesta.
Puede enconfrar estos formu/arios de /a Corte y mas iniormaci6n en el Centro de Ayuda de /as Cones de Calr/omia (www.sucoRe.ca.gov), en la
 biblioteca de leyes de su condado o en /a Corte que le quede mas cerca. Si no puede pagar la cuota de presentacidn, Aida a/ secretario de /a Corte que
le de un fo~mulario de exencidn de pago de cuotas. Si no presents su respuesta a tiempo, puede perder el caso por incumpfrmiento y la Corte le podr~
 guitar su sue/do, dinero y bienes sin mss advertencia.
    Hay otros requisitos /ega/es. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
 remision a abogados. Si no puede pagar a un abogado, es posible que cumpla con !os requisitos pars obtener servicios lega/es gratuifos de un
programs de servicios lega/es sin fines de /ucro. Puede encontrar estos grupos sin fines de lucro en e/ sitio web de California Legal Services,
(www.lawhelpcalifornia.org), en el Centro de Ayuda de !as Cones de California,(www.sucoRe.ca.gov)o ponrendose en contacto con la Corte o el
colegio de abogados locales. AVISO: Por ley, la Corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
cualpuier recuperacion de $10,000 o mks de valor recibida mediante un acuerdo o una concesion de arbitraje en un caso de derecho civil. Tiene que
pagar el gravamen de la Corte antes de que la Corte pueda desechar el caso.
 The name and address of the court is:                                                                     CASE NUMBER:(Numero del Caso):
(EI Hombre y direccion de /a Corte es):
  First Street U.S. Courthouse. Address. 350 W 1st Street, Suite 4311 Los Angeles, CA
 90012
The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is: (EI Hombre, la direccidn y el ncimero
de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
 Brian A. Wilson , 512 E. 4th St., Los Angeles, CA 90013(possible attorney in time)
 DATE:                                                                              Clerk, by                                                        ,Deputy
(Fecha) November 18, 2020                                                           (Secretario)                                                     (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons,(POS-010).)
                                       NOTICE TO THE PERSON SERVED: You are served
  ~SEALj
                                      1. 0as an individual defendant.
                                      2. ~ as the person sued under the fictitious name of (specify):

                                      3. ~ on behalf of (specify):
                                         under:~ CCP 416.10 (corporation)                  ~ CCP 416.60 (minor)
                                              0CCP 41620 (defunct corporation)             ~ CCP 416.70 (conservatee)
                                              0CCP 416.40 (association or partnership) ~ CCP 416.90 (authorized person)
                                               ~
                                               x other (specify): Sram artist nrrnm
                                      4. ~ by personal delivery on (date) December 1, 2020                            a,v,
Form Adopted for Mandatory Use                                                                                                  Code of Civil Procedure §§ 41220. 465
Judicial Council of Calilomia
                                                                       SUMMONS                                                                      www.courts.ca.gov
SUM-700 [Rev July 1.2009]

For your protection and privacy, please press the Clear
This Form button after you have printed the form.                  P1'111t this f0~1T1      SeVe this f01'm
       Case 2:21-cv-01739-AB-JPR Document 1 Filed 02/22/21 Page 21 of 26 Page ID #:21



                                          SUMMONS                                                                             FOR COURT USE ONLY
                                                                                                                          (SOlO PARA USO DE LA CORTE)
                                 (CITACION JUDICIAL)
 NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):
            S~Avt~SI~aWV~ C~ll'~iS
 YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):
  Brian A. Wilson
                                      court may decide against you without your being heard unless you

   You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
   rved on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
   se. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
   cline Self-Help Center (www.courtinfo.ca.gov/selfhe/p), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
   urt clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
    taken without further warning from the court.
   There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  'erral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
  ' se nonprofit groups at the California Legal Services Web site (www.lawhe/pcalifomia.org), the California Courts Online Self-Help Center
   ww.couRinfo.ca.gov/selfhe/p), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
  sts on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
    V/SO!Lo han demandado. Si no responde dentro de 30 dias, la torte puede decidir en su contra sin escuchar su version. Lea /a rnlormaci6n a

     Tiene 30 D%AS DE CALENDAR/O despues de que /e enbeguen esta citation y papeles /egales paia presenter una respuesta por escrito en esta
  torte y hater que se entregue una copia al demandante. Una carte o una llamada telefonica no to protegen. Su respuesta por escrrto tiene que ester
  en formato legal correcto si desea que procesen su caso en !a torte. Es posible que haya un lormularro que usted pueda user pare su respuesta.
  Puede encontrar estos formularios de /a torte y mas informacibn en e/ Centro de Ayuda de !as Cortes de Cali/ornia (www.sucorte.ca.gov), en /a
  biblioteca de leyes de su condado o en la torte que le quede mks cerca. Si no puede pager la cuota de presentacidn, Aida al secretario de !a torte que
  le d~ un lormulario de exencidn de pago de cuotas. Si no presents su respuesta a tiempo, puede perder el caso por incumplimiento y /a torte /e podr~
  guitar su sueldo, dinero y bienes sin mss advertencia.
     Hay otros requisitos legates. Es recomendab/e que /lame a un abogado rnmediatamente. Si no conoce a un abogado, puede /lamer a un servicio de
  remision a abogados. Si no puede pager a un abogado, es posible que cumpla con los requisitos pare obtener servicios lega/es gratuitos de un
  programs de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de /ucro en el sitio web de California Legal Services,
(www.lawhelpcalifornia.org), en el Centro de Ayuda de /as Cortes de Cali/omia,(www.sucoRe.ca.gov) o poniendose en contacto con la torte o el
 co/egio de abogados locales. AVISO: Por ley, la torte tiene derecho a reclamar las cuotas y los crostos exentos poi imponer un gravamen sobre
 cualquier recuperacidn de $10,000 d mks de valor recibida mediante un acuerdo o una concesion de arbitraje en un caso de derecho civil. Tiene que
  pager e/ gravamen de la crone antes de que la torte pueda desechar el caso.
 The name and address of the court is:                                                                 ~ CASE NUMBER:(Numero del Caso):
(EI Hombre y direction de la torte es):
  First Street U.S. Courthouse. Address. 350 W 1st Street, Suite 4311 Los Angeles, CA
 90012
 The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is: (E/ Hombre, la direction y el numero
 de tel~fono del abogado de!demandante, o del demandante que no tiene abogado, es):
 Brian A. Wilson , 512 E. 4th St., Los Angeles, CA 90013 (possible attorney in time)
 DATE:                                                                               Clerk, by                                                      ,Deputy
(Fecha) November 18, 2020                                                            (Secretario)                                                   (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citation use e/ formulario Proof of Service of Summons,(POS-010).)
                                       NOTICE TO THE PERSON SERVED: You are served
 [SEAL]
                                      1. ~ as an individual defendant.
                                      2. 0as the person sued under the fictitious name of (specify):

                                      3. 0on behalf of (specify):

                                         under:~ CCP 416.10 (corporation)                 0CCP 416.60 (minor)
                                                  CCP 416.20 (defunct corporation)         ~ CCP 416.70 (conservatee)
                                                  CCP 416.40 (association or partnership) ~ CCP 416.90 (authorized person)
                                                  other (speCity): Siam artist nrrnin
                                      4. ~ by personal delivery on (date) December 1, 2020
                                                                                                                         1 of 1                         Pane
Form Adopted for MarWatory Use
Judicial Council of California
                                                                      SUMMONS                                                 Code of Civil Procedure §§ 412.20, 465
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SUM -700 Rev July 1, 2009

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                                          SUMMONS                                                                              FOR COURT USE ONLY
                                                                                                                           (SOLO PARR USO OE LA CORTE)
                                 (CITACION JUDICIAL)
 NOTICE TO DEFENDANT:
(AV/SO AL DEMANDADO):
  Brandon Snyder

YOU ARE BEING SUED BY PLAINTIFF:
(LO EST.4 DEMANDANDO EL DEMANDANTE):

 Brian A. Wilson
                                            may decide against you witnout your being heartl unless you respond within

   You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtin/o.ca.gov/selfhelp), your county law library, or the courthouse nearest you. if you cannot pay the filing fee, ask the
 court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
 be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhe/pcalifornia.org). the California Courts Online Self-Help Center
(www.courtinfo.ca.gov/seffhe/p), or by contacting your local court or county bar association. NOTE:The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 ~AV/SO!Lo han demandado. Si no responde dentro de 30 dias, la Corte puede decidir en su contra sin escuchar su version. Lea /a inlormaci6n a
 con6nuacidn.
    Tiene 30 D%AS DE CALENDAR/O despu~s de que le entreguen esta citacion y pape/es lega/es Para presentar una respuesta por escrito en esta
 cone y hacer que se entregue una copia al demandante. Una Carta o una Ifamada tele%nica no!o protegen. Su respuesta por escrito tiene que estar
 en lormato legal correcto si desea que procesen su caso en la Corte. Es posib/e que haya un lormulario que usted pueda usar Para su respuesta.
 Puede encontrar estos formularios de la Corte y mas informacidn en e/ Centro de Ayuda de las Cones de Cali/ornia (www.sucorte.ca.gov), en /a
 biblioteca de leyes de su condado o en la Corte que /e quede mks cerca. Si no puede pagar la cuota de presentacion, Aida al secretario de la Corte que
 le de un /ormulario de exenci6n de pago de cuotas. Si no presents su respuesta a tiempo, puede perder el caso por incumplimiento y!a cone /e podr~
 guitar su suA!do, dinero y bienes sin mss advertencia.
    Hay otros requisitos /ega/es. Es recomendable que /lame a un abogado inmediafamente. Si no conoce a un abogado, puede llamar a un servicio de
 remisidn a abogados. Si no puede pagar a un abogado, es posible que cumpla con fos reqursitos pars obtener servicios /ega/es gratuitos de un
 programs de servicios lega/es sin lines de ludo. Puede encontra~ estos grupos sin fines de lucro en el sitio web de Cali~omia Legal Services,
(www.fawirelpcalifornia.org), en e/ Centro de Ayuda de /as Cones de Cali/ornia, (www.sucorte.ca.gov)o poniendose en contacto con la Corte o el
co/egio de abogados locales. AVISO: Por ley, la Corte tiene derecho a ~eclamar fas cuotas y los costos exentos por imponer un gravamen sobre
cualquier recuperacidn de $10,000 d mks de valor recibida mediante un acuerdo o una concesion de arbitraje en un caso de derecho civil. Tiene que
 pagar e/ gravamen de la Corte antes de que la carte pueda desechar of Casa.
 The name and address of the court is:                                                                    CASE NUMBER:(Numero del Caso):
(EI Hombre y direccidn de la Corte es):
  First Street U.S. Courthouse. Address. 350 W 1st Street, Suite 4311 Los Angeles, CA
 40012
 The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is: (E/ Hombre, la direccidn y e/ numero'`'
 de telefono de/ abogado del demandante, o del demandante que no time abogado, es):
 Brian A. Wilson , 512 E. 4th St., Los Angeles, CA 90013(possible attorney in time)
 DATE:                                                                              Clerk, by                                                         ,Deputy
(Fecha) November 18, 2020                                                           (Secretario)                                                      (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons,(POS-010).)
                                       NOTICE TO THE PERSON SERVED: You are served
  SEAL)
                                      1. ~ as an individual defendant.
                                      2. 0as the person sued under the fictitious name of (specify):

                                      3. 0on behalf of (specify):
                                           under:~ CCP 416.10 (corporation)                ~ CCP 416.60 (minor)
                                                0CCP 416.20 (defunct corporation)          0CCP 416.70 (conservatee)
                                                   CCP 416.40 (association or partnership) ~ CCP 416.90 (authorized person)
                                                 Other (specify): Sram artist nrrnin
                                      4. 0by personal delivery on (date) December 1, 2020                                                                 o_..e,
Form Adopted for Mandatory Use                                                                                                  Code of Civil Procedure §§ 412.20, 465
Judicial Counal of California
                                                                       SUMMONS
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SUM~100 Rev July 1, 2009)

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        Case 2:21-cv-01739-AB-JPR Document 1 Filed 02/22/21 Page 23 of 26 Page ID #:23



                                          SUMMONS                                                                              FOR COURT USE ONLY
                                                                                                                           (SOLO PARR USOOE U CORTE)
                                  (CITACION JUDICIAL)
 NOTICE TO DEFENDANT:
(AV/SO AL DEMANDADO):



 YOU ARE BEING SUED BY PLAINTIFF:
(LO EST,4 DEMANDANDO EL DEMANDANTE):

  Brian A. Wilson
                                             may aeade against you wrtnout your being neartl unless you

   You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served pn the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.gov/selihe/p), your county law library, or the courthouse nearest you. if you cannot pay the filing fee, ask the
 court clerk for a fee waiver farm. if you do not file your response on time, you may lose the case by default, and your wages, money, and property may
 be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.o~g), the California Courts Online Self-Help Center
(www.courtin/o.ca.gov/selfhe/p), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 ~AV/SO!Lo han demandado. Si no responde dentro de 30 dias. la Corte puede decrdir en su contra sin escuchar su version. Lea /a informaci6n a
 continuacion.
    Tiene 30 D/AS DE CALENDAR/O despu~s de que le entreguen esta citaciBn y pape/es /egales para presentar una respuesta por escrito en esta
 Corte y hacer que se entregue una copia at demandante. Una Carta o una llamada telefdnica no to protegen. Su respuesta por escrito tiene que estar
 en formato legal correcto si desea que procesen su caso en la Corte. Es posib/e que haya un formulario que usted pueda usarPara su respuesta.
 Puede encontrar estos formularios de /a Corte y mas informacion en el Centro de Ayuda de /as Cortes de California (www.sucorte.ca.gov), en /a
 biblioteca de leyes de su condado o en la Corte que /e quede mks cerca. Si no puede pagar la cuota de presentacibn, Aida al secretario de /a Corte que
 le do un formulario de exencibn de pago de cuotas. Si no presents su respuesta a tiempo, puede perder e/ caso por incumplimiento y la Corte le podr~
 guitar su sue/do, dinero y bienes sin mss advertencia.
    Hay otros requisitos Jega/es. Es recomendable que flame a un abogado inmediatamente. Sr no conoce a un abogado, puede Ilamar a un servicio de
 remision a abogados. Si no puede pagar a un abogado, es posrbfe que cumpla con los requisitos pars obtener servicios legates graturtos de un
 programs de servicios lega/es sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en of sitio web de California Legal Services,
(www.lawhelpcalifornia.org), en el Centro de Ayuda de /as Cortes de California,(www.sucoRe.ca.gov) o poni~ndose en contacto con la Corte o el
co/egio de abogados locales. A V/SO: Por ley, la Corte tiene derecho a reclamar las cuotas y /os costos exentos poi imposer un gravamen sobre
cualquier recuperacidn de $10,000 6 mss de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
 pagan e/ gravamen de /a Corte antes de que la Corte pueda desechar el caso.
 The name and address of the court is:                                                                    CASE NUMBER:(Numero del Caso):
(El sombre y direccron de la Corte es):
  First Street U.S. Courthouse. Address. 350 W 1st Street, Suite 4311 Los Angeles, CA
 90012
The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is: (E/ sombre, la direccion y e/ numero
de fete%no del abogado del demandante, o del demandante que no tiene abogado, es):
 Brian A. Wilson ,512 E. 4th St., Los Angeles, CA 90013(possible attorney in time)
 DATE:                                                                             Clerk, by                                                         ,Deputy
(FechaJ November 18, 2020                                                          (Secretario)                                                      (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons,(POS-070).)
                                      NOTICE TO THE PERSON SERVED: You are served
  ~SEALJ
                                      1. ~ as an individual defendant.
                                      2. ~ as the person sued under the fictitious name of (specify):

                                      3. ~ on behalf of (specify):
                                         under:~ CCP 416.10 (corporation)                   0CCP 416.60 (minor)
                                                   CCP 416.20 (defunct corporation)         ~ CCP 416.70 (conservatee}
                                                   CCP 416.40 (association or partnership) 0CCP 416.90 (authorized person)
                                                   Oth2f (SP2Cify): Siam artist nrrnin
                                      4. ~x by personal delivery on (date) December 1, 2020                            a__,
Form Adopted for Mandatory Use                                                                                                 Code of Civil Prxedure §§ 412.20, 465
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        Case 2:21-cv-01739-AB-JPR Document 1 Filed 02/22/21 Page 24 of 26 Page ID #:24



                                            SUMMONS                                                                            FOR COURT USE ONLY
                                                                                                                           (SOLO PARR USO DE LA CORTE)
                                   (CITACION JUDICIAL)
 NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):
                         ~}eli ~,In ev' G~Ir►'~(~ ~l~a w~ ~ v'~ez
 YOU ARE BEING SUED BY PLAINTIFF:
 (LO ESTA DEMANDANDO EL DEMANDANTE):

  Brian A. Wilson
                                          court may decide against you without your being heard unless you
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center (www.courtinfo.ca.gov.-selfhelp). your county law library, or the courthouse nearest you. If you cannot pay the filing fee. ask the
  court clerk for a fee waiver form. If you do not file your response on time. you may dose the case by default. and your wages. money, and property may
 be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
  these nonprofit groups at the California Legal Services Web site (www.lawhelpcalilornia.org). the California Courts Online Self-Help Center
 (www.courtinfo.ca.gov;selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 ;AVISO! Lo han demandado. Si no responde dentro de 30 dias, la Corte puede decidir en su contra sin escuchar su version. Lea la inlormacion a
 continuacion.
     Tiene 30 DIAS DE CALENDARIO despu~s de que le entreguen esta cifaci6n y papeles legates para presentar una respuesfa por escrito en esta
 Corte y hacer que se entregue una copia al demandante. Una calla o una llamada fete%n~ca no to protegen. Su respuesta por escrito tiene que estar
 en lormato legal correcto si desea que procesen su caso en !a Corte. Es posible que haya un lormulario que usted pueda usar Para su respuesta.
 Puede encontrar estos ~ormulanos de la Corte y mas informacion en el Centro de Ayuda de las Cortes de Calrlornia (www.sucorte.ca.govi. en la
 biblioteca de leyes de su condado o en la Corte que le quede mas cerca. Si no puede pagar la cuota de presentation. pida al secretario de la Corte que
 le de un ~ormulario de exencibn de pago de cuotas. Si no presenta su respuesta a tempo. puede perder el caso por incumplimiento y la Corte /e podr~
 guitar su sueldo. dinero y bienes sin mas advertencia.
    Hay otros requisitos legates. Es recomendable que llame a un abogado inmed~atamente. S~ no conoce a un abogado, puede llamar a un servicio de
 remision a abogados. Si no puede pagar a un abogado. es posible que cumpla con los requisitos Para obtener servicros legates gratuitos de un
 programs de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services.
 (www.lawhelpcalrfomia.org). en el Centro de Ayuda de las Cortes de Cali/omia. jwwwsucorte.ca.gov) o poniendose en contacto con la Corte o el
 colegio de abogados locales. AVISO: Por ley. la Corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
 cualquier recuperacion de $10.000 o mss de valor recibida mediante un acuerdo o una concesion de arbitraje en un caso de derecho civil. Tiene que
 pagar e! gravamen de la Corte antes de que la Corte pueda desechar el caso.
The name and address of the court is:                                                                       CASE NUMBER: (Numero del Caso):
(EI Hombre y direccion de la Corte es):
 First Street U.S. Courthouse. Address. 350 W 1st Street, Suite 4311 Los Angeles, CA
 90012
The name. address, and telephone number of plaintiff's attorney. or plaintiff without an attorney, is: (EI Hombre, la direccidn y el numero
de telefono del abogado del demandante. o del demandante que no tiene abogado, es):
 Brian A. Wilson , 512 E. 4th St., Los Angeles, CA 90013 (possible attorney in time)
DATE:                                                                         Clerk, by                                                             .Deputy
(Fecha) November 18, 2020                                                     (SecretarioJ                                                          (Adjunto)
 (For proof of service of this summons. use Proof of Service of Summons (form POS-010).)
 (Para prueba de entrega de esta citation use el lormulario Proof of Service of Summons. (POS-010).)
                                  NOTICE TO THE PERSON SERVED: You are served
  ~SEAL~
                                       1.   0x   as an individual defendant.
                                       2.   0 as the person sued under the fictitious name of (specify):

                                       3.   0 on behalf of (specify):

                                            under: 0 CCP 416.10 (corporation)                  ~ CCP 416.60 (minor)
                                                   0 CCP 416.20 (defunct corporation)          ~ CCP 416.70 (conservatee)
                                                   0 CCP 416.40 (association or partnership) 0 CCP 416.90 (authorized person)
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                                                   x other (Specify): Sram artist nmun
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